                   UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


HECTOR GARCIA; and ROSEANN
MORRISON, individually and as co-
administrators of the Estate of Sahmya                 Civil Action No. _______________
Garcia, Deceased,
                                                       State Case No.: 230802980
           Plaintiffs,                                 (Aug. Term 2023)

v.

POLYMER80, INC.; and MARCUS BURNEY
PP# 816759,

           Defendants.


                                  NOTICE OF REMOVAL

         Defendant Polymer80, Inc. (“Polymer80”), by and through undersigned

counsel, hereby files this Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441, and

1446 providing grounds of removing this matter to the United States District Court

for the Eastern District of Pennsylvania, together with a copy of all process,

pleadings, and orders served upon Polymer80 in the state court case. In support of

removal, Polymer80 states the following:1




     1
     Nothing in this Notice of Removal shall be interpreted as a waiver or relinquishment of
Polymer80’s rights to assert any defense, including, but not limited to those defenses available under
Federal Rule of Civil Procedure 12.
   1.         On August 29, 2023, Plaintiffs filed a Praecipe to Issue Writ of Summons

against Defendants Polymer80 and Marcus Burney PP# 816759 (“Burney”) in the

Court of Common Pleas for Philadelphia County.

   2.         Plaintiffs have yet to file a complaint; however, Writ of Summons was

issued, and the matter has been assigned for the August Term 2023, docket number

2308060407 (“State Court Matter”).

   3.         On September 11, 2023, Polymer80 received a copy of the Writ of

Summons for the State Court Matter. A true and correct copy of Plaintiffs’ affidavit

of service, filed in the Court of Common Pleas, is attached as Exhibit B.

   4.         Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders

served upon Polymer80 are attached as Exhibit A. No other documents have been

served on Polymer80.

   5.         Venue is proper in the Eastern District of Pennsylvania under 28 U.S.C. §§

121(1) and 1441(a).

   6.         This case is removable to federal court because it involves a controversy

between citizens of different states and because, upon information and belief,2 the

amount in controversy exceeds $75,000, exclusive of interest and costs. 28 U.S.C. §§

1332, 1441, 1446.

   7.         Plaintiffs Hector Garcia and Roseann Morrison are citizens of New Jersey.

Ex. A.

   2
       See infra, at ¶ 10.
    8.      Polymer80 is incorporated in Nevada, with a principal place of business in

Nevada, making it a citizen of Nevada for purposes of diversity jurisdiction. See 28

U.S.C. § 1332(c).

    9.      Defendant Marcus Burney is a citizen of Pennsylvania. Ex. A.

    10.     Papers served with the Writ of Summons show that the amount in

controversy is at least $50,000. Ex. A. Due to the possibility, however small, that the

Writ of Summons may constitute “initial pleadings” for purposes of calculating a

defendant’s time for removal,3 Polymer80 felt it necessary to remove without

complete knowledge of the amount in controversy.

    11.     This Notice is filed with this Court within thirty (30) days of Defendant

Polymer80’s receipt through service or otherwise of a copy of the Writ of Summons,

arguably being the pleading which first attempted to set forth a claim for relief against

Defendant Polymer80 upon such action or proceeding is based, as provided by 28

U.S.C. § 1446(b).

    12.     In any event, pursuant to 28 U.S.C. § 1446(c)(2)(A)(ii), Polymer80 asserts

that the amount in controversy exceeds $75,000.

    13.     Defendant Marcus Burney has given his written consent to the removal of

the State Court Matter to this Court for purposes of 28 U.S.C. § 1446(b)(2), which is

attached as Exhibit C.


    3
     See, e.g., Foster v. Mut. Fire, Marine, & Inland Ins. Co., 986 F.2d 48 (3d Cir. 1993); but see Sikirica v.
Nationwide Ins. Co., 416 F.3d 214, 222–23 (3d Cir. 2005).
   14.     Defendant Burney has consented to the removal within thirty (30) days of

September 11, 2023, the date on which Polymer80 received Plaintiffs’ Writ of

Summons. See 28 U.S.C. § 1446(b)(2)(C) (“If defendants are served at different times,

and a later-served defendant files a notice of removal, any earlier-served defendant

may consent to the removal even though that earlier-served defendant did not

previously initiate or consent to removal.”)

         PLEASE TAKE FURTHER NOTICE that Defendant Polymer80, upon filing

this Notice of Removal in the office of the Clerk of the United States District Court

for the Eastern District of Pennsylvania, has also forwarded a copy of this Notice to

the Court of Common Pleas for the County of Philadelphia for filing with that court

and to effect removal of this action to the United States District Court pursuant to 28

U.S.C. § 1446(d).




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      WHEREFORE Defendant Polymer80, Inc., respectfully removes this action

from the Court of Common Pleas of Philadelphia County, Pennsylvania, Civil

Division, this this Court where it shall proceed as an action originally commenced

herein.

                               Respectfully submitted,

                               GOLDSTEIN LAW PARTNERS, LLC

Dated: October 11, 2023        /s/ Shawn M. Rodgers
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                               Attorneys for Defendant Polymer80, Inc.
